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                     7   ANTHONY THOMAS and WENDI
                         THOMAS and AT EMERALD, LLC
                     8
                     9                                     UNITED STATES BANKRUPTCY COURT
                 10                                                       DISTRICT OF NEVADA
                 11                                                                  —ooOoo—
                 12      In Re:                                                                   Case No. BK-N-14-50331-BTB
                                                                                                  Case No. BK-N-14-50333-BTB
                 13      AT EMERALD, LLC,
                                                                                                  Chapter 11 Cases
                 14
                         ANTHONY THOMAS and                                                       [Joint Administration - PENDING]
                 15      WENDI THOMAS,
                                                                                                  MOTION FOR JOINT
                 16                                                                               ADMINISTRATION
                 17                                                                               Hearing Date: May 7, 2014
                                                                                                  Hearing Time: 10:00 a.m.
                 18
                                    Debtors,
                 19      ______________________________/
                 20                ANTHONY THOMAS and WENDI THOMAS and AT EMERALD, LLC, Debtors
                 21      above-captioned and hereinafter collectively referred to as “Thomas-AT Emerald,” by and
                 22      through their undersigned counsel, Holly E. Estes, Esq., of the Law Offices of Alan R. Smith,
                 23      hereby file this Motion for Joint Administration (the “Motion”) of the pending Chapter 11
                 24      cases. This Motion is made and based upon the Points and Authorities set forth below, 11
                 25      U.S.C. § 105(a), Federal Rule of Bankruptcy Procedure 1015(b), the pleadings and papers
                 26      on file herein, and such other matters as may be presented at the hearing hereon.
                 27      ///
                 28      ///
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                     1                                              POINTS AND AUTHORITIES
                     2   A.        Statement Of Facts
                     3             Anthony Thomas and Wendi Thomas filed their voluntary petition under Chapter 11
                     4   of the United States Bankruptcy Code on March 4, 2014 (Case No. 14-50333). AT Emerald,
                     5   LLC, filed its voluntary petition under Chapter 11 of the United States Bankruptcy Code on
                     6   March 4, 2014 (Case No. 14-50331). No trustee has been appointed and Debtors are
                     7   currently operating as debtors-in-possession.
                     8             Grounds for this Motion are predicated on the following:
                     9             (1)        Anthony Thomas is the sole member of AT Emerald, LLC.
                 10                (2)        The business records and financial and accounting data of AT Emerald, LLC,
                 11      are maintained by Anthony Thomas.
                 12                (3)        The Thomas-AT Emerald cases are both pending before this Court. Joint
                 13      administration of the cases, including the combining of notices to creditors of the two estates
                 14      and the handling of other purely administrative matters, will prevent the imposition of
                 15      unnecessary costs on the estates and duplicate proceedings before the Court.
                 16                (4)        Joint administration is appropriate because it will result in expediting the cases
                 17      and rendering the process less costly, a benefit to both Thomas-AT Emerald and their
                 18      creditors.
                 19      B.        Legal Basis For The Relief Requested
                 20                (a)        Joint Administration
                 21                Federal Rule of Bankruptcy Procedure 1015(b) permits the court to order joint
                 22      administration of cases pending against related entities. These include:
                 23                (1) a husband and wife, or (2) a partnership and one or more of its general
                                   partners, or (3) two or more general partners, or (4) a debtor and an affiliate,
                 24                the court may order a joint administration of the estates. . . .
                 25                As to the two Chapter 11 cases seeking joint administration by this motion, the
                 26      business and financial affairs of the two Debtors are significantly intertwined to make joint
                 27      administration more efficient and economical than separate administrations. The business
                 28      operations work hand-in-hand with each other, as the individual Debtor, Anthony Thomas,
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                     1   manages and operates the Nevada limited liability company.
                     2             Joint administration is proper under the circumstances, and will provide for a more
                     3   effective and efficient administration of the Chapter 11 cases of Thomas-AT Emerald. There
                     4   is no prejudice to creditors or conflict of interest. The substantive rights of creditors or
                     5   parties in interest will not be affected by an order of joint administration.                    Joint
                     6   administration will avoid unnecessary costs and delay and is in the best interest of creditors
                     7   and the estates. In re McKenzie Energy Corp., 228 B.R. 854 (Bankr. S.D. Tex. 1998) (joint
                     8   administration saved costs and any potential conflict of interest was only speculative).
                     9             WHEREFORE, Thomas-AT Emerald requests an order directing the joint
                 10      administration of these Chapter 11 cases including:
                 11                1.         Combining the estates by using a single docket [the “lead” case of Anthony
                 12      Thomas and Wendi Thomas, Case No. 14-50333], for administrative matters, and the filing,
                 13      lodging and docketing of pleadings and orders;
                 14                2.         The combining of notices to creditors and parties in interest, using a combined
                 15      creditor matrix for the two Debtor cases;
                 16                3.         The scheduling of hearings;
                 17                4.         The joint handling of other administrative matters;
                 18                5.         Such other relief as is just and proper.
                 19                DATED this 24th day of March, 2014.
                 20                                                                      LAW OFFICES OF ALAN R. SMITH
                 21                                                                      By:     /s/ Holly E. Estes
                                                                                           HOLLY E. ESTES, ESQ.
                 22                                                                        Attorney for Debtors
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